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        10/17/2023                                        /s/Orelia E. Merchant

                                           Orelia E. Merchant, United States District Court Judge
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      10/17/2023                                       /s/Orelia E. Merchant

                                         Orelia E. Merchant, United States District Court Judge
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        10/17/2023                                       /s/Orelia E. Merchant

                                           Orelia E. Merchant, United States District Court Judge
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       10/17/2023                                         /s/Orelia E. Merchant

                                          Orelia E. Merchant, United States District Court Judge
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     10/17/2023                                         /s/Orelia E. Merchant

                                          Orelia E. Merchant, United States District Court Judge
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                             Schedule of Parties

   Superb Plaintiffs:                        Deo Defendants
   Superb Motors Inc.                        Anthony Deo
   Team Auto Sales LLC                       Sarah Deo,
   Robert Anthony Urrutia                    Harry Thomasson,
                                             Dwight Blankenship,
   By:                                       Marc Merckling,
   Milman Labuda Law Group PLLC              Michael Laurie,
   Jamie S. Felsen & Emanuel Kataev, Esqs.   Car Buyers NYC Inc.,
                                             Gold Coast Cars of Syosset LLC,
   IAG Plaintiffs                            Gold Coast Cars of Sunrise LLC,
   189 Sunrise Hwy Auto LLC                  Gold Coast Motors Automotive Group LLC,
   Northshore Motor Leasing, LLC             Gold Coast Motors of LIC LLC,
   1581 Hylan Blvd Auto LLC                  Gold Coast Motors of Roslyn LLC,
   1580 Hylan Blvd Auto LLC                  Gold Coast Motors of Smithtown LLC,
   1591 Hylan Blvd Auto LLC                  and UEA Premier Motors Corp.
   1632 Hylan Blvd Auto LLC
   1239 Hylan Blvd Auto LLC                  By:
   2519 Hylan Blvd Auto LLC                  Harry R. Thomasson, Esq
   76 Fisk Street Realty LLC
   446 Route 23 Auto LLC                     CPA Defendants
   Island Auto Management, LLC               Jones, Little & Co., CPA's LLP
   Brian Chabrier                            & Thomas Jones CPA
   Joshua Aaronson
   Jory Baron                                By:
                                             Milber Makris Plousadis & Seiden, LLP
   By:                                       Peter Sieden & John Lentinello, Esqs.
   Cyruli Shanks & Zizmor LLP
   Jeffrey Ruderman, Esq.                    Bank Defendant
                                             Flushing Bank
                                             By:
                                             Cullen and Dykman LLP
                                             Thomas S. Baylis & Ariel E. Ronneburger, Esqs.
